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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                           )
IN RE: PHILIPS RECALLED                    )
CPAP, BI-LEVEL PAP, AND                    )
MECHANICAL
VENTILATOR PRODUCTS                        )   Master Docket: Misc. No. 21-
LITIGATION                                 )   1230
                                           )
                                           )   MDL No. 3014
This Document Relates to: All Actions      )
                                           )
                                           )
                                           )


        SPECIAL MASTER REPORT AND RECOMMENDATION ON
      DEFENDANT PHILIPS RS NORTH AMERICA LLC’S MOTION TO
    DISMISS THE CONSOLIDATED SECOND AMENDED CLASS ACTION
              COMPLAINT FOR MEDICAL MONITORING
    I.   INTRODUCTION
     Pending in this multi-district litigation arising from the production and sale of

certain breathing assistance devices is Defendant Philips RS North America LLC’s

( “Respironics”) Motion to Dismiss the Consolidated Second Amended Class Action

Complaint for Medical Monitoring (“MMSAC”) for Failure to State a Claim.1 (ECF

No. 1341.) Respironics contends that Plaintiffs have failed to allege present physical




1
 The parties have reached a settlement of the claims in the Third Amended Class
Action Complaint for Economic Losses (ECF No. 785). Thus, this Report and
Recommendation will not address the claims in that complaint that do not overlap
with claims in the MMSAC and will not address Respironics’s assertion that
Plaintiffs engaged in impermissible claim splitting. Respironics’s Motion to
Dismiss this argument is now moot and the Court will not address it.
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injury as required under a number of jurisdictions’ laws. Id. at 2.2 Respironics

further alleges that Plaintiffs’ claims must be dismissed under Fed. R. Civ. P.

12(b)(6) because Plaintiffs have failed to allege significant exposure - a threshold

level of exposure sufficient to create an increased risk of future diseases that requires

medical monitoring. Supp. Br. (ECF No. 1634) at 21. Regarding Plaintiffs’ claims

arising under the laws of Colorado, Connecticut, Delaware, Montana, and New

Hampshire, Respironics asserts these claims must be dismissed because medical

monitoring is not an independent cause of action under these jurisdictions’ laws. Id.

at 32. With respect to Plaintiffs’ claims for declaratory relief, Respironics asserts

they must be dismissed because Plaintiffs’ claims are predicated on Respironics’

alleged past conduct which cannot be adjudicated via the Declaratory Judgment Act.

Id. at 34.

    Plaintiffs zealously contest these assertions. The motion has been fully briefed,

with Plaintiffs having filed a brief in opposition on March 7, 2023, Respironics

having filed a reply brief on April 21, 2023, and oral argument on the motion being

heard on July 11, 2023.                 See Plaintiff’s Answering Br. (ECF No. 1634);



2
 In its Brief in Opposition to Respironics’s motion, Plaintiffs admit that its claims
for an independent science panel to determine Plaintiffs’ risk of future harm and its
claims for jurisdictions in which no plaintiff resides (Alabama, Alaska, Kentucky,
Louisiana, Michigan, Mississippi, North Dakota, South Dakota, Wisconsin, and
Wyoming), are not justiciable. Opp. Br. (ECF No. 1634) at 28, 38. Thus, this
Report and Recommendation will not analyze these claims.
                                                 2

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Respironics’s Reply Brief (ECF No. 1828); July 11, 2023 Transcript (ECF No.

2130). This decision will address the issues in the same order the parties addressed

them at oral argument, beginning with Respironics’s assertion that Plaintiffs have

failed to plead the elements of a medical monitoring claim.

 II.    STANDARD OF REVIEW

    Defendant’s motion primarily relies on Fed. R. Civ. Proc. 12(b)(6) which governs

dismissal of an action for failure to state a claim upon which relief can be granted.

A court “must accept all factual allegations as true, construe the complaint in the

light most favorable to the plaintiff, and determine whether, under any reasonable

reading of the complaint, the plaintiff may be entitled to relief.” Fowler v. UPMC

Shadyside, 578 F.3d 203, 210 (3d Cir. 2009) [quoting Philips v. Cnty. of Allegheny,

515 F.3d 224, 233 (3d Cir. 2008)]. To survive a motion to dismiss, a complaint

must, at a minimum “state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009); Bell Atlantic Corp v. Twombly, 550 U.S. 554, 570

(2007). A determination that a complaint demonstrates plausibility “‘simply calls

for enough facts to raise a reasonable expectation that discovery will reveal evidence

of’ the necessary elements.’” Connelly v. Lane Const. Corp., 809 F.3d 780, 789 (3d

Cir. 2016) [quoting Philips v. Cnty. of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008)].

III.    WHETHER PLAINTIFFS FAILED TO STATE A CLAIM ABSENT
        EVIDENCE OF A PRESENT PHYSICAL INJURY


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    This Report and Recommendation will address each of the parties’ arguments in

turn, beginning with Respironics’s assertion that Plaintiffs’ medical monitoring

claims fail under the laws of the majority of jurisdictions because Plaintiffs have

failed to allege a present physical injury.

            a. Requirement of a Present Physical Injury

        Respironics asserts Plaintiffs have failed to allege a present physical injury, a

required element for a medical monitoring claim as adopted in thirty-one

jurisdictions. Supp. Br. (ECF No. 1352) at 16. Respironics recognizes that eleven

jurisdictions have recognized an exception to this rule and do not contest Plaintiffs’

claims in those jurisdictions for failure to allege a present physical injury.3 Id. at 17,

n. 9.

        In response, Plaintiffs assert they are not required to plead evidence of a

present physical injury because they have sufficiently pled an economic injury in the

form of the costs of medically necessary diagnostic testing Plaintiffs will need to

undergo because of the increased risk of disease caused by their exposure to the PE-

PUR foam. Opp. Br. (ECF No. 1634) at 30. Relying on the Restatement (Second)

of Torts, Plaintiffs assert that “[t]ortiously-caused present medical necessity to incur


3
 The eleven jurisdictions that have amended the traditional rule, and which are not
contested by Respironics on the physical injury requirement, are California,
District of Columbia, Florida, Maryland, Missouri, Nevada, Pennsylvania, Utah,
Vermont, West Virginia, and Massachusetts. See Citation Table B, Memorandum
in Support of Motion to Dismiss (ECF No. 1352).
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the cost of diagnostic testing for the early detection of illness or disease constitutes

legal detriment and a present injury that does not require proof of present physical

injury or diagnosis.” Id. at 29. Plaintiffs cite to case law from several jurisdictions

to rebut Respironics’s case law and which Plaintiffs aver recognize that the

economic loss associated with diagnostic testing necessitated by another’s tortious

conduct is a sufficient injury to support a medical monitoring claim. Id. at 31-34.

        In sum, Plaintiffs assert that the jurisdictions for which Plaintiffs bring

medical monitoring claims fall into three categories that can be treated as subclasses

under Fed. R. Civ. P. 23(c)(5). Id. at 37. These categories include: (1) jurisdictions

that have explicitly addressed and held that a claim for medical monitoring does not

require proof of present physical injury (Arizona, California, District of Columbia,

Florida, Illinois, Maryland, Massachusetts, Missouri, Nevada, Pennsylvania, Utah,

Tennessee, Vermont, and West Virginia); (2) jurisdictions that have not explicitly

addressed medical monitoring but would follow Restatement (Second) of Torts §7,

recognizing that tortious conduct causing pecuniary loss due to medically necessary

diagnostic testing is an invasion of a legally protected interest, and thus, an actual

injury under these states’ common law (Arkansas, Colorado, Connecticut, Delaware,

Hawaii, Idaho, Indiana, Iowa, Kansas, Maine, Minnesota, Montana, Nebraska, New

Hampshire, New Mexico, Ohio, Oklahoma, Puerto Rico, Rhode Island, South

Carolina, Texas, Virginia, and Washington); and (3) jurisdictions that have

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considered medical monitoring but failed to analyze the injury at issue as economic

loss under Restatement (Second) §7, but that would follow Restatement (Second) of

Torts §7 and recognize that tortious conduct causing pecuniary loss as being an

invasion of a legally protected interest (Georgia, New Jersey, New York, North

Carolina, and Oregon).

        Respironics argues that acceptance of Plaintiffs’ arguments would result in an

impermissible expansion of state liability theories by a federal court. Supp. Br. (ECF

No. 1352) at 33; Banks v. E.I. du Pont de Nemours and Co., No. 19-1672, 2022 WL

3139087, at *9 (D. Del. Aug. 4, 2022) (dismissing claim for medical monitoring

improperly asserted as a standalone cause of action in Delaware where “[t]he

Delaware Supreme Court has never recognized medical monitoring as a free-

standing tort”). Respironics’s argument is compelling. “A federal court in a

diversity case is not free to engraft onto those state rules exceptions or modifications

which may commend themselves to the federal court . . . .” Day & Zimmermann,

Inc. v. Challoner, 423 U.S. 3, 4 (1975) (per curiam). As explained in City of

Philadelphia v. Lead Industries Ass'n, Inc., 994 F.2d 112, 123 (3d Cir. 1993):

            A federal court may act as a judicial pioneer when interpreting the
            United States Constitution and federal law. In a diversity case,
            however, federal courts may not engage in judicial activism.
            Federalism concerns require that we permit state courts to decide
            whether and to what extent they will expand state common law. See
            Wisniewski v. Johns–Manville Corp., 759 F.2d 271, 274 (3d
            Cir.1985) (“We leave to ... the state legislatures and, where
            relevant, to the state courts the task of expanding or restricting
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            liability for asbestos production.”); Bruffett v. Warner
            Communications, Inc., 692 F.2d 910, 920 (3d Cir.1982). Our role is
            to apply the current law of the appropriate jurisdiction, and leave it
            undisturbed. As the Court of Appeals of the District of Columbia
            Circuit stated, when it declined to permit a plaintiff to utilize
            market share liability:
                Absent some authoritative signal from the legislature or the
                [state courts], we see no basis for even considering the pros
                and cons of innovative theories.... We must apply the law of
                the forum as we infer it presently to be, not as it might come
                to be.

        Plaintiffs have not contested Respironics’s demonstration that the highest

courts in 31 jurisdictions have not recognized a negligence-based claim for medical

monitoring absent physical injury. (See Respironics’ Citation Table A, ECF No.

1352, at pp. 40-46.) Instead, Plaintiffs invite the Court to find that those jurisdictions

would hold that “[t]ortiously-caused present medical necessity to incur the cost of

diagnostic testing for the early detection of illness or disease constitutes legal

detriment and present injury” sufficient to support an action for medical monitoring.

Opp. Br. (ECF No. 1634) at 31. While this argument has intuitive appeal, accepting

it for those jurisdictions that have thus far not extended liability in the absence of

physical injury is simply a “bridge too far” for a federal court exercising jurisdiction

on the basis of diversity of citizenship. Accordingly, it will be recommended that

the Court grant Respironics’s motion to dismiss the medical monitoring claims




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asserted under the laws of Arizona,4 Arkansas, Colorado, Connecticut, Delaware,5

Georgia, Hawaii, Idaho, Illinois,6 Indiana, Iowa, Kansas, Maine, Minnesota,



4
  In Burns v. Jaquays Mining Corp. 752 P.2d 28 (Az. App. 1987), the Court
distinguished between negligence and nuisance causes of action, holding that a
present physical injury is required to present a viable claim for medical monitoring
based upon the defendant’s alleged negligence. The intermediate appellate court
observed, “[w]e see no reason to depart from traditional tort concepts and allow
recovery for injuries before any disease becomes manifest.” Id. at 31. Although
the court did recognize that medical monitoring costs could be recovered as part of
a nuisance cause of action, Plaintiffs in this matter have not asserted a claim for
nuisance.
5
  On August 26, 2023, the Supreme Court of Delaware, resolving a question
certified to it by the U.S. Court of Appeals for the Third Circuit, ruled:

            an increased risk of illness without physical harm is not a
            cognizable injury under Delaware law. Stated differently, an
            increased risk of harm only constitutes a cognizable injury once it
            manifests in a physical disease. It is axiomatic that all tort claims
            require an injury. Under Delaware law, an “injury in fact” is
            defined as “an invasion of a legally protected interest which is (a)
            concrete and particularized and (b) actual or imminent, not
            conjectural or hypothetical.” An increased risk of illness, without
            more, is not “actual or imminent,” and thus does not constitute an
            injury.

Baker v. Croda Inc., No. 393, 2022, 2023 WL 5517797, at *2 (Del. Aug. 24,
2023). In reliance on the Delaware Supreme Court’s ruling the Third Circuit held
that “the District Court properly dismissed the Complaint because ‘[t]he class
cannot show it has suffered any injury under Delaware law.’” Baker v. Croda Inc.,
No. 21-3360, 2023 WL 5993109, at *1 (3d Cir. Sept. 15, 2023). Accordingly, it
will be recommended that the medical monitoring claim asserted under Delaware
law be dismissed.
6
  The dicta in Lewis v. Lead Industries Ass’n, Inc., 793 N.E.2d 869 (Ill. App. 2003),
is not sufficient to support a determination that the Illinois Supreme Court would
reject its later holding in Berry v. City of Chicago, 181 N.E.3d 679, 688 (Ill. 2020)
that an increased risk of harm is not, itself, an injury.”
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Montana, Nebraska, New Hampshire,7 New Jersey, New Mexico, New York, North

Carolina,8 Ohio, Oklahoma,9 Oregon,10 Puerto Rico, Rhode Island, South Carolina,

Texas, Virginia, and Washington.11




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  In Brown v. Saint-Gobain Performance Plastics Corp., --- A.3d ---, No. 2022-
0132, 2023 WL 2577257 (N.H. Mar. 21, 2023), the Supreme Court of New
Hampshire specifically held that “the mere existence of an increased risk of future
development of disease is not sufficient under New Hampshire law to constitute a
legal injury for purposes of stating a claim for the costs of medical monitoring as a
remedy or as a cause of action in the context of plaintiffs who were exposed to a
toxic substance but have no present physical injury.”). Thus, there is no basis for
allowing a claim for medical monitoring to proceed under New Hampshire law.
8
  In Curl v. Am. Multimedia, Inc., 654 S.E.2d 76,81 (NC. App. 2007), the Court
explicitly rejected a medical monitoring claim, explaining that “recognition of the
increased risk of disease as a present injury, or of the cost of medical monitoring as
an element of damages, will present complex policy questions. We conclude that
balancing the humanitarian, environmental, and economic factors implicated by
these issues is a task within the purview of the legislature and not the courts.)
9
   Absent evidence of physical injuries, Oklahoma does not recognize a claim for
medical monitoring. Taylor v. Michelin N. Am., Inc., No. 14-CV-293-JED-FHM,
2018 WL 1569495 at *6-7 (N.D. Okla. March 30, 2018).
10
   In Lowe v. Philip Morris USA, Inc., 183 P.3d 181, 187 (Or. 2008), the Oregon
Supreme Court held “negligent conduct that results only in a significantly
increased risk of future injury that requires medical monitoring does not give rise
to a claim for negligence.”)
11
   Respironics, citing, among other cases, Bostick v. St. Jude Med., Inc., No. 03-
2636 BV, 2004 WL 3313614, at *14 (W.D. Tenn. Aug. 17, 2004), argues that
Tennessee does not recognize an action for medical monitoring in the absence of a
present injury. The Court of Appeals for the Sixth Circuit, however, disagreed,
concluding that a claim for medical monitoring can proceed even in the absence of
a present physical injury. See Sutton v. St. Jude Med. S.C., Inc., 419 F.3d 568, 575
(6th Cir. 2005). Based upon the Sixth Circuit’s holding in Sutton, it will be
recommended that Respironics’s motion to dismiss the medical monitoring claim
under Tennessee law be denied.
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            b. Massachusetts Law and Subcellular Injury
        While conceding that Plaintiffs need not show present physical injury to

present a viable claim for medical monitoring under Massachusetts law, Respironics

asserts that the claims under Massachusetts law should nonetheless be dismissed

because Plaintiffs have not alleged that their subcellular injuries are established

warning signs that Plaintiffs have developed a condition that substantially increases

the risk of future illness or disease. Supp. Br. (ECF No. 1352) at 19. In support of

this argument, Respironics relies on the opinion of the Supreme Judicial Court of

Massachusetts in Donovan v. Philip Morris USA, Inc., 914 N.E.2d 891, 901 (Mass.

2009), and on the federal Court opinions in Genereux v. Hardric Lab’ys, Inc., 950

F.Supp.2d 329, 340 (D. Mass. 2013), aff’d sub nom. Genereux v. Raytheon Co., 754

F.3d 51, 53, 55-56 (1st Cir. 2014).

        Plaintiffs assert Respironics improperly reads into the Donovan decision a

requirement that plaintiffs must demonstrate subcellular change via evidence of

detectable biological changes to demonstrate an injury. Opp. Br. (ECF No. 1634)

at 37-38. Plaintiffs contend that the court in Donovan recognized that evidence of

subcellular injury as presented by expert testimony regarding the risks associated

with a substance may be sufficient to demonstrate a need for medical monitoring

under Massachusetts law. Id. at 38. Plaintiffs claim that, by citing Genereux,

Respironics incorrectly asserts that Massachusetts has recognized that subcellular

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change indicative of a specific future illness is needed to support a claim for

medical monitoring. Id. Plaintiffs assert Massachusetts has not adopted such a

requirement and that the District of Massachusetts merely recognized in Genereux

that a threat of subcellular change would not be sufficient to demonstrate a claim

for medical monitoring. Id. In support of their position, Plaintiffs cite to the recall

notice Respironics provided that recognized the toxicity of the PE-PUR foam and

the risk of serious injury associated with inhalation of VOCs emitted by the foam.

Id. (citing MMSAC (ECF No. 815) at ¶ 11).

        Contrary to Respironics’s assertion, Donovan does not hold that Plaintiffs are

required to demonstrate that their subcellular injuries are detectable warning signs

of a risk of future illness to obtain medical monitoring. In Donovan, when faced

with the question of whether plaintiffs who had smoked cigarettes and were exposed

to known carcinogens could obtain medical monitoring in the absence of diagnosis,

the Massachusetts Supreme Court held that subcellular injuries may not always

manifest. 914 N.E.2d at 901. However, the Court recognized that not all cases will

involve a physiological change that is a warning sign of a known illness and that

“such cases should be allowed to proceed when a plaintiff’s reasonable medical

expenses have increased (or are likely to increase in the exercise of due care) as a

result of these physiological changes.” Id. The Court went on to recognize a seven-



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part test for whether a plaintiff may receive medical monitoring.12 However, the

Court recognized that “[p]roof of these elements usually will require competent

expert testimony.” Id. at 902.

        Respironics relies on portions of the opinion in Genereux that relate to the

evidentiary showing a plaintiff must make to survive a motion for summary

judgment on a medical monitoring claim. 754 F.3d at 56. There, the Court

recognized that the plaintiffs’ expert could not confirm that each plaintiff suffered a

subcellular injury that established an increased risk of harm like the plaintiffs in

Donovan suffered. Id. Rather, the expert in Genereux could only testify that each

plaintiff faced a “‘significantly increased risk of harm’” from their exposure to

beryllium and the First Circuit confirmed the grant of summary judgment in

defendant’s favor in light of this evidentiary weakness. Id.

        The factual circumstances and procedural posture of Genereux demonstrate

that it would be premature to dismiss Plaintiffs’ claims in reliance on the holding of



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  “In conclusion, each plaintiff must prove the following: (1) The defendant's
negligence (2) caused (3) the plaintiff to become exposed to a hazardous substance
that produced, at least, subcellular changes that substantially increased the risk of
serious disease, illness, or injury (4) for which an effective medical test for reliable
early detection exists, (5) and early detection, combined with prompt and effective
treatment, will significantly decrease the risk of death or the severity of the disease,
illness or injury, and (6) such diagnostic medical examinations are reasonably (and
periodically) necessary, conformably with the standard of care, and (7) the present
value of the reasonable cost of such tests and care, as of the date of the filing of the
complaint.” 914 N.E.2d at 902.
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Genereux at this stage. It is clear expert discovery is needed before this Court can

determine whether Plaintiffs have subcellular injuries or merely just increased risks

of harm. At this stage, Plaintiffs have sufficiently alleged subcellular injury and an

increased risk of serious diseases in a manner that allows their claims to continue to

discovery. Plaintiffs allege that Plaintiffs absorbed the toxins into their respiratory

tracts and digestive systems where the toxins were absorbed by Plaintiffs’ tissue.

MMSAC (ECF No. 815) at ¶ 367. Plaintiffs assert that this exposure and ingestion

places them at an increased risk of developing a variety of diseases and cite medical

studies supporting their contentions that their exposure to the aforementioned toxins

places them at an increased risk for disease development. Id. at ¶ 368, Section D.

At this stage, such pleadings are sufficient and Plaintiffs do not need to demonstrably

prove their injuries or risks of harm. Such determinations can only be made

following full discovery. Accordingly, it will be recommended that the Court deny

Respironics’s motion to dismiss Plaintiffs’ claims arising under Massachusetts law.

IV.     WHETHER PLAINTIFFS HAVE FAILED TO STATE A CLAIM OF
        SUFFICIENT EXPOSURE TO HAZARDOUS SUBSTANCES
        Relying on the test the Third Circuit established in In re Paoli R.R. Yard PCB

Litig., 916 F.2d 829, 852 (3d Cir. 1990), Respironics asserts Plaintiffs have failed to

allege (1) the defendant’s conduct caused a significant exposure to a known

hazardous substance; (2) the exposure substantially increased the risk that Plaintiffs

will contract a serious latent disease in the future; (3) periodic diagnostic
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examinations exist that make early detection of the serious latent disease possible

and reasonably necessary; and, (4) the periodic diagnostic examinations sought are

different from the examinations which would be prescribed in the absence of the

exposure. Supp. Br. (ECF No. 1352) at 20. In response, Plaintiffs assert they have

pled the necessary elements of a medical monitoring claim. Opp. Br. (ECF No.

1634) at 42. Plaintiffs further assert Respironics suggests a level of detail in the

pleadings that is not required to plausibly allege a claim for medical monitoring. Id.

Relying on the Third Circuit’s opinion in In re Paoli R.R. Yard PCB Litigation,

Plaintiffs assert the expert testimony necessary to prove the elements of a medical

monitoring claim are not required at this stage. Id.; 916 F.2d at 852. Following

review of the parties’ papers, relevant case law, and consideration of the parties’

presentations at oral argument, the Court finds that Plaintiffs have plausibly alleged

a medical monitoring claim sufficient to recommend their claims survive the motion

to dismiss stage. The Court will address each element in turn.

           i.    Plaintiffs have plausibly alleged Respironics’s conduct caused a
                 significant exposure to a known hazardous substance.
        First, it is clear, and the parties do not appear to dispute, that Plaintiffs have

plausibly alleged that Respironics’s conduct caused exposure to the carcinogens

contained in the PE-PUR foam. In the MMSAC, Plaintiffs allege Respironics used

the PE-PUR foam in the Recalled Devices and failed to recall the Devices after

Respironics learned of the degradation issue from customer complaints. See
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MMSAC (ECF No. 815) at ¶ 228-256. Plaintiffs further allege that Plaintiffs were

exposed to harmful substances which Plaintiffs allege place Plaintiffs at an increased

risk of developing cancer and other diseases. Id. ¶ 484-496. Respironics does not

contest that Plaintiffs have alleged causation. Thus, Plaintiffs have plausibly alleged

the first element of a medical monitoring claim.

          ii.    Plaintiffs have plausibly alleged substantial exposure to a
                 hazardous substance that increased Plaintiffs’ risks of contacting
                 serious diseases in the future.
        As to the second element, Respironics asserts Plaintiffs do not plausibly allege

that the doses and concentrations they were exposed to in their uses of the Recalled

Devices were harmful or increased the risk of contracting a disease in the future.

Supp. Br. (ECF No. 1352) at 21. Rather than allege a sufficient dose or concentration

to a hazardous substance, Respironics asserts Plaintiffs merely allege a risk of

exposure to hazardous emissions. Id. In support of this argument, Respironics cites

to a case from the Southern District of Florida, Jacobs v. Osmose, Inc. Id.; No. 01-

944-CIV, 2002 WL 34241682 at *3 (S.D. Fla. Jan. 3, 2002).

        In response, Plaintiffs assert they have alleged significant exposure. Opp. Br.

(ECF No. 1634) at 42. First, Plaintiffs assert they have alleged a frequency of use

that demonstrates sufficient exposure to the Foam Toxins because each Plaintiff in

the class is a user who has used the Devices at least thirty times. Id. Second,

Plaintiffs assert they have adequately pled exposure to hazardous substances through

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the use of the devices. Id. Plaintiffs cite to Paragraph 198 of the MMSAC where

Plaintiffs rely on the Recall Notice provided by Respironics which noted:

         The absence of visible particles does not mean that foam breakdown
         has not already begun. Lab analysis of the degraded foam reveals the
         presence of potentially harmful chemicals including:
         - Toluene Diamine
         - Toluene Diisocyanate
         - Diethylene glycol.

Plaintiffs also refer back the Health Hazard Evaluations published by Respironics,

which noted that the cytotoxicity and genotoxicity testing demonstrated that “a

reasonable worst-case estimate for the general and higher risk (e.g., patient

populations with preexisting conditions or comorbidities) patient population is a

severity level 3 (Crucial) for both short/intermediate and long term exposure.” Id. at

¶ 203.

         The allegations of the MMSAC satisfy the second element of the test for

medical monitoring. Plaintiffs allege that they were exposed to substances that are

known and likely carcinogens, including toluene diamine, toluene diisocyanate,

diethylene glycol, dimethyl diazine, and formaldehyde. See MMSAC (ECF No.

815) at ¶ 198. Moreover, Plaintiffs cite studies establishing the hazardous nature of

these substances. At this stage, Plaintiffs have sufficiently alleged the hazardous

nature of these substances to survive Respironics’s motion to dismiss.



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        Respironics does not allege a specific level of exposure which Plaintiffs

should have alleged to plausibly allege substantial exposure. A review of the

Citation Table provided by Respironics demonstrates that a common element of

showing exposure is that a plaintiff has been exposed to the substance at a level that

exceeds the exposure the plaintiff would have been exposed to absent the

defendant’s conduct. This level of exposure aligns with the Third Circuit’s prior

interpretation of this element under Pennsylvania law. Barnes v. American Tobacco

Co., 161 F.3d 127, 139 (3d Cir. 1998).

        Respironics cites Riva v. Pepsico, 82 F.Supp.3d 1045, 1050 (N.D. Cal. 2015),

as support for its argument that Plaintiffs have failed to allege the toxicity of the

substances. Supp. Br. (ECF No. 1352) at 26. There, the court dismissed the

plaintiffs’ claims for failure to demonstrate that they were exposed to a substance in

sufficient level to warrant medical monitoring. 82 F.Supp.3d at 1050. But the

substance at issue in Riva had only been shown to create an increased risk of cancer

in laboratory animals and plaintiffs did not demonstrate that a similar harm would

result from significant exposure to humans. Id. at 1057. This is in contrast to the

assertion here, where Plaintiffs cite to several studies concluding that a similar harm

observed in animal testing would result from significant exposure by humans.

MMSAC (ECF No. 815) at ¶ ¶ 212, 215, 218, 219, 221, 224, 227.



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        The facts of In Re Zantac (Ranitidine Prod. Liab. Litig.) are similarly

distinguishable. 546 F.Supp.3d 1152, 1171 (S.D. Fla. 2021). There, plaintiffs

asserted that they regularly ingested ranitidine products that contained active

ingredients that could transform into a cancer-causing molecule called N-

nitrosodimethylamine (“NDMA”). Id. at 1160. In analyzing the defendant’s motion

to dismiss the plaintiffs’ medical monitoring claims and after undertaking a detailed

review of the plaintiffs’ scientific studies, as well as performing its own calculations,

the court held that plaintiffs had failed to allege a degree of exposure that would

result in an increased risk of cancer. Id. at 1171. Following detailed review of the

plaintiffs’ cited studies and conducting its own analysis, the Court held that the

plaintiffs had failed to allege the amount of NDMA exposure contained in a dose of

the ranitidine products and failed to allege the number of doses plaintiffs had

consumed. Id. at 1174-76. In coming to this decision, the court noted that even if it

based its plausibility assessment on the studies cited by plaintiffs, it could not find

plaintiffs had alleged a claim for medical monitoring because plaintiffs failed to

allege the frequency with which plaintiffs consumed the product. Id. at 1175.

        The facts of Lafferty, which Respironics cites in its papers and highlighted

during oral argument, are similarly distinguishable. Lafferty v. Sherwin-Williams

Company, No. 1:17-06321-RBK/AMD, 2018 WL 3993448 at *5 (D.N.J. Aug. 21,

2018). There, plaintiffs sought to recover for environmental exposure to lead and

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arsenic but failed to allege personal exposure, the specific disease plaintiffs were at

an increased risk for, and the type of medical monitoring program that would be

necessary to detect the diseases. Id. at *5. Plaintiffs here allege both exposure to

specific toxic substances and allege they may develop a host of specific diseases and

conditions as a result of that exposure. MMSAC (ECF No. 815) at ¶ ¶ 212, 215, 218,

219, 221, 224, 227, 371.

        The facts of In Re Zantac (Ranitidine Prod. Liab. Litig.) also distinguish it

from this case. First, in In Re Zantac involved a medication that had quantifiable

ingredients from which a calculation could be made as to the likely NDMA exposure

a plaintiff received in a single dosage. Id. at 1172. Here, by way of contrast,

Plaintiffs cannot perform similar calculations due to the nature of the degradation

and off-gassing. The level of detail Respironics seeks would require Plaintiffs to

have alleged the degree of degradation present in their own machines, which as

Plaintiffs highlight, would have required Plaintiffs to open and inspect their Devices

against Respironics’s clear recall instruction to avoid opening the Devices. Opp. Br.

(ECF No. 1634) at 45. Moreover, to require Plaintiffs to perform such testing and

develop such calculations prior to discovery would be overly burdensome. Second,

whereas the plaintiffs in In Re Zantac merely alleged plaintiffs ingested “therapeutic

dosages” of the drug without allegations of frequency, Plaintiffs here allege they



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each used the Recalled Devices at least thirty times. MMSAC (ECF No. 815) at ¶

387. Thus, the support plaintiffs lacked in In Re Zantac is present here.

        To require Plaintiffs to plead with scientific specificity the necessary levels of

exposure from off-gassing would unnecessarily foreclose Plaintiffs’ claims despite

evidence of exposure to hazardous substances that Plaintiffs have plausibly alleged

lead to an increased risk of harm. Although Respironics seeks more specific

allegations regarding the measurable amount of toxins Plaintiffs were exposed to in

the use of the Devices, this level of specificity is not required on a motion to dismiss.

Such calculations will undoubtedly depend upon expert testimony and should be left

for discovery, after which Respironics may reassert its arguments at summary

judgment. The specifics of whether Plaintiffs’ exposures and increased risks of harm

must be developed on a full factual record. At this stage, Plaintiffs have plausibly

alleged enough information to continue to discovery.

        Respironics asserts that because of Plaintiffs’ failure to allege how many

hours on average each Plaintiff used the Recalled Devices, Plaintiffs have failed to

show exposure beyond the average public’s exposure to these substances. Supp. Br.

(ECF No. 1352) at 27. Respironics’s reliance on Rutigliano v. Valley Business

Forms, 929 F. Supp. 779, 790-92 (D.N.J. 1996), to assert that Plaintiffs are exposed

to formaldehyde in daily life is misplaced. In Rutigliano, the court’s discussion of

formaldehyde in modern life was limited to assessment of whether an expert’s report

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was sufficiently thorough to be relied upon under Daubert. 929 F. Supp. At 790-92.

Thus, the holding is not dispositive in determining whether Plaintiffs were exposed

to formaldehyde in an excessive level through the Recalled Devices. Plaintiffs

allege inhalation of the air produced by the Devices containing PE-PUR that could,

by Respironics own admission in its Recall Notice, degrade without noticeable

change. Plaintiffs have thus plausibly alleged significant exposure to harmful

substances that are likely to cause future health conditions.

        Respironics’s contention that Plaintiffs’ claims fail because their Complaint

incorporated studies showing there was a less significant risk of exposure than

initially believed is also not dispositive. Unlike those cases which Respironics relies

on, the studies here recognized there was at least a small risk that users would be

exposed to PE-PUR foam through degradation, a fact Respironics itself admits.

Thus, it would be difficult to determine that the studies “simply do not support the

allegations” as Respironics asserts, when a likelihood of degradation, albeit small,

was found. Further, analysis of the studies would require an assessment of the

weight that should be granted to these studies, a task which the courts in the cases

cited by Respironics held to be inappropriate on a motion to dismiss. See Sabol v.

Bayer Healthcare Pharm, Inc., 439 F.Supp.3d 131, 148 (S.D.N.Y. 2020) (“Of

course, ‘issues of fact, credibility and the weight of evidence’ - - including how much



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weight should be accorded to publications and other scientific studies are not

properly considered on amotion to dismiss.”).

         iii.    Plaintiffs have plausibly alleged diagnostic examinations will
                 make early detection possible and reasonably necessary.
        Respironics’s assertion that Plaintiffs fail to identify specific diseases for

which they are at risk as a result of their exposures to the aforementioned toxins is

unfounded.         While Respironics correctly asserts that the Eastern District of

Pennsylvania recognized in Slemmer v. McLaughlin Spray Foam Insulation, Inc.,

No. 12-6542, 2013 WL 5655480 at *3 (E.D. Pa. Oct. 17, 2013), that merely pleading

that Plaintiffs were at heightened risk for “lung damage, and throat, eye and nose

irritations” was insufficient, Plaintiffs provided significantly greater detail here.

        In Paragraph 368 of the MMSAC, Plaintiffs allege:
            It has been widely accepted for decades that certain of the Foam
            Toxins (specifically formaldehyde, DEG, and DD’s precursor and
            successor compounds) are toxic and/or carcinogenic to humans. For
            decades, scientific literature and regulatory agencies around the
            world have made clear that exposure to the Foam Toxins causes
            various adverse health effects, including Case 2:21-mc-01230-JFC
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            Moreover, the synergistic effects of having multiple toxic and
            carcinogenic materials in the body at the same time likely
            compound the adverse health outcomes.

Paragraph 371 alleges:

            based on available scientific literature, exposure to the Foam
            Toxins places Plaintiffs and Class members at increased risk of
            developing a number of serious illnesses and diseases, including
            but not limited to the following: cancer, including cancer as of the
            head, neck, kidneys, liver, brain, pancreas, blood-forming tissue,
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            respiratory system, gastrointestinal system, reproductive system,
            and lymphatic system; respiratory diseases such as asthma, chronic
            bronchitis, chronic obstructive pulmonary disease, constrictive
            bronchiolitis or obliterative bronchiolitis, emphysema, interstitial
            lung disease, pleuritis, pulmonary fibrosis, sarcoidosis; and chronic
            sinusitis, chronic rhinitis, and other forms of chronic inflammation.
            The Foam Toxins are cytotoxic and genotoxic; as such, exposure
            causes widespread damage to DNA as well as the reproductive
            system, neurological system, and other critical systems.

        Here, Plaintiffs allege that they are at risk for specific types of cancer and

respiratory complications. Thus, Respironics is sufficiently put on notice regarding

the types of claims it will need to defend against.

         iv.     Plaintiffs have plausibly alleged the frequency of the periodic
                 diagnostic examination.
        The Third Circuit has generally held that Plaintiffs cannot recover medical

monitoring for treatments that would be recommended for the general population,

such as annual physicals and cardiovascular assessments. Barnes v. American

Tobacco Co., 161 F.3d at 155. However, Respironics fails to recognize that in

Barnes the assessment of whether a plaintiff would normally receive the type of

diagnostic testing at issue depended upon additional discovery regarding the plaintiff

and his or her health. Id. (noting discovery revealed plaintiff to be a smoker who

would be recommended to have regular diagnostic testing).

        To the extent Respironics relies on Slemmer, the Court finds that Plaintiffs’

request for medical monitoring exceeds the bare-bones request in Slemmer. No. 12-

6542, 2013 WL 5655480 at *3. There, plaintiffs merely requested a medical
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monitoring regime consisting of “diagnostic tests and pharmaceutical interventions.”

Id. When given the opportunity to amend, the plaintiffs failed to allege additional

specificity and merely requested “diagnostic exams and pharmaceutical

interventions” to “prevent or mitigate” the alleged injuries. Id. Here, Plaintiffs

provide sufficient detail to demonstrate diagnostic monitoring that would detect any

illness. In Paragraph 493 of the MMSAC, Plaintiffs specifically request:

         blood and laboratory testes; physical examinations; imaging;
         colonoscopies; endoscopies; and other similar methods for
         examination; biopsies; pathologic, histologic, and oncologic
         evaluations; and oncologic, histologic, surgical, and other necessary
         medical evaluations.
Although Respironics asserts Plaintiffs have not alleged this requested diagnostic

testing will definitively demonstrate any particular disease, there is no indication

exposure to the PE-PUR foam will result in a signature disease. Relying on cases

addressing signature diseases, including asbestosis and chronic beryllium disease,

Respironics asserts these tests are no different than testing Plaintiffs would have

received in the absence of exposure. To follow this logic would foreclose Plaintiffs’

claims because they are not at risk for a signature disease which has an accepted

diagnostic and interventional treatment program. At this stage, it will not be

recommended to limit Plaintiffs’ claims in this way.

        Further, Plaintiffs correctly assert that the Southern District of Florida has

agreed that the question of whether the type of medical monitoring was an issue of
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fact and has approved claims for generalized “baseline tests and periodic diagnostic

examinations.” In re Zantac (Ranitidine) Products Liability Litigation, 546

F.Supp.3d 1152, 1168 (S.D. Fla. 2021). There, the Court permitted Plaintiffs’

request for otherwise common diagnostic testing because Plaintiffs alleged in their

complaint that their injuries “‘require specialized testing . . . that is not generally

given to the public at large’” and “‘different from that normally recommended in the

absence of exposure to this risk of harm’” Id. Here, Plaintiffs do not allege that

Plaintiffs will need specialized testing but recognize that Plaintiffs will likely need

“more frequent screenings not in the purview of routine medical exams.” MMSAC

(ECF No. 815) at ¶ 496.

        Plaintiffs’ assertion that they will need more frequent medical testing than is

currently provided for the general population satisfies Barnes. The frequency of

medical testing Plaintiffs may require distinguishes the testing Plaintiffs request

from the tests the public would receive absent exposure under the fifth element of a

medical monitoring claim. Accordingly, Plaintiffs have plausibly alleged that they

will require greater testing than the average population as a result of Respironics’s

actions.

        Accordingly, it will be recommended that the Court deny Respironics’s

motion to dismiss the Second Amended Medical Monitoring Claim for failure to

state the elements of a medical monitoring claim.

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 V.     WHETHER PLAINTIFFS HAVE FAILED TO STATE AN
        INDEPENDENT CAUSE OF ACTION UNDER THE LAWS OF THE
        CLAIMED JURISDICTIONS
        Respironics asserts that five states have not recognized medical monitoring as

an independent cause of action: Connecticut, Colorado, Delaware, Montana, and

New Hampshire. Having already recommended that the Court grant Respironics’s

motion to dismiss the claims for medical monitoring under the laws of these

jurisdictions, this Report not address the question at any greater length.

VI.     WHETHER PLAINTIFFS HAVE FAILED TO STATE A CLAIM
        FOR DECLARATORY JUDGMENT
        Respironics asserts Plaintiffs’ claim for declaratory relief must be dismissed

because Plaintiffs seek to recover for past conduct relating to the Recalled Devices,

conduct which Respironics asserts cannot be adjudicated via a declaratory judgment.

Supp. Br. (ECF No. 1352) at 34. In response, Plaintiffs assert that their harm from

Respironics’s past conduct is ongoing and will continue into the future, rendering

the past conduct subject to a declaratory judgment. Opp. Br. (ECF No. 1634) at 49.

Because it does not appear that declaratory relief would be academic, it will be




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 recommended that the Court deny Respironics’s motion to dismiss the Fifteenth

 Claim for Relief, the request for a declaratory judgment.

VII.     WHETHER PLAINTIFFS HAVE FAILED TO STATE A CLAIM
         UNDER STATES’ PRODUCTS LIABILITY ACTS
         Respironics asserts that Plaintiffs’ claims under the products liability acts of

 Connecticut, Indiana, Kansas, New Jersey, Ohio, Tennessee, and Washington must

 be dismissed because these states require Plaintiffs to allege a manifest personal

 injury and no Plaintiff alleges such an injury. Respironics’s Motion to Dismiss (ECF

 No. 1351) at vii; Supp. Br. (ECF No. 1352) at 35. In response, Plaintiffs assert that

 they plead twin harms sufficient to meet the harm requirements of these

 jurisdictions: (1) a present and ongoing economic injury in the need to incur the cost

 of medical monitoring for early detection of disease due to their exposure to the

 Foam Toxins, ¶ 375 and (2) “subcellular injury or other physiological changes that

 create and/or increase the risk that Plaintiffs will develop cancer and other diseases”

 caused by Plaintiffs’ use of the Recalled Devices. MMSAC (ECF No. 815) at ¶ 25-

 88, 733; Opp. Br. (ECF No. 1634) at 52. Plaintiffs assert these allegations exceed

 the requirements of the statutes at issue, relying on In re Valsartan, Losartan, &

 Irbesartan Prods. Liab. Litig., MDL No. 2875, 2021 WL 364663 at **12-14, 17-20,

 24-27 (D.N.J. Feb. 3, 2021) (denying motion to dismiss medical monitoring claims

 under the New Jersey, Connecticut, Indiana, Kansas, Ohio, Tennessee and

 Washington products liability acts when Plaintiffs alleged “cellular damage, genetic
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harm, and/or an increased risk of developing cancer” resulting from exposure to

carcinogens in blood pressure medication).

        Upon review of the parties’ briefing and independent research, it is

recommended that the Court deny Respironics’s motion to dismiss the statutory

claims arising under the products liability acts of Connecticut, Indiana, Kansas, New

Jersey, Ohio, Tennessee, and Washington.

      i.    Connecticut

       Relying on Gerrity v. R.J. Reynolds Tobacco Co., 818 A.2d 769 (Conn. 2003),

Respironics asserts that Plaintiffs have failed to state a claim for medical monitoring

because Plaintiffs fail to allege a present physical injury. Supp. Br. (ECF No. 1352)

at 36. Section 52-572m of the Connecticut General Statutes provides that a “product

liability claim” falling within the ambit of the statute includes “all claims or actions

brought for personal injury, death or property damage caused by the manufacture,

construction, design, formula, preparation, assembly, installation, testing, warnings,

instructions, marketing, packaging or labeling of any product.” Conn. Gen. Stat. §

52-572m. Plaintiffs assert Respironics misconstrues the definition of harm under

the Connecticut Products Liability Act., Conn. Gen. Stat. Ann. §52-572m-q.

Plaintiffs assert the statute defines harm as including “the product itself, and personal

injuries including wrongful death” which Plaintiffs meet by pleading economic

injury and subcellular injury. Opp. Br. (ECF No. 1634) at 53-54. Plaintiffs further
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allege Gerrity is inapplicable because it addresses wrongful death and does not

address the minimum threshold of injury under the CPLA. Id.

        Gerrity addressed whether the plaintiff could bring separate claims under the

 Connecticut Unfair Trade Practices Act and the Products Liability Act. The Court

 determined that the claim for “financial injury . . . cannot be reasonably construed

 to be a claim for ‘personal injury, death or property damage’” under the Products

 Liability Act. 818 A.2d at 776. Therefore, the plaintiff could bring the action under

 the CUTPA in conjunction with a separate action under the Products Liability Act.

 Id. Other cases interpreting Section §52-572m-q of the Products Liability Act do

 not clearly address the question presented and focus on physical injuries caused by

 products. Collazo v. Nutribullet, 473 F.Supp.3d 49 (D. Conn. 2020); Fisher v.

 McDonald’s Corp., 810 A.2d 341 (Sup. Ct. Conn. 2002).

        Here, Plaintiffs’ medical monitoring claims for recovery under the CPLA are

 based upon “harm” caused by the Recalled Devices. Accordingly, it will be

 recommended that the motion to dismiss the claim presented under the CPAL be

 denied.

     ii.    Indiana

        In support of its argument that Plaintiffs’ claims arising under Indiana law

must be dismissed, Respironics relies on DeVane v. Arch Wood Protection Inc. to

assert that Plaintiffs’ claims for risk of future physical harm is insufficient to state a
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claim for harm. 197 N.E.3d 343, 347 (Ind. App. 2022); Supp. Br. (ECF No. 1352)

at 36. Plaintiffs contend DeVane is inapposite because it does not address a products

liability claim and assert that the Indiana Products Liability Act, Ind. Code §§34-20-

1-1-9-1, does not require “physical or personal injury” or a “manifest personal

injury” but merely requires a showing of physical harm, defined as “bodily, injury,

death, loss of services, and rights arising from any such injuries.” Opp. Br. (ECF

No. 1634) at 57. Plaintiffs also assert that the Indiana Appeals Court has recognized

that a plaintiff can recover for medical monitoring absent evidence of a present

physical injury. Id. at 58; Gray v. Westinghouse Elec. Corp., 624 N.E.2d 49 (Ind.

App. 1993); Allgood v. General Motors Corp., No. 102CV1077DFHTAB, 2005 WL

2218371 at *7 (S.D. Ind. Sep. 12, 2005).

        In DeVane, the court recognized that a products liability claim arising under

Indiana law must allege that the plaintiffs suffer from an existing physical harm. 197

N.E.3d at 346-47. Plaintiffs have alleged a physical injury in the Second Amended

Medical Monitoring Complaint in the form of subcellular damage and physiological

injuries sufficient to give rise to a claim under the Indiana Products Liability Act.

Accordingly, it will be recommended that the Court deny Respironics’s motion to

dismiss Plaintiffs’ claims arising under the Indiana Products Liability Act.




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    iii.    Kansas

        Relying on the Kansas Supreme Court’s opinion in Fennesy v. LBI Mgmt. Inc.,

847 P.2d 1350, 1354 (Kan. 1993), Respironics asserts that Plaintiffs’ claims arising

under Kansas law must be dismissed. Supp. Br. (ECF No. 1352) at 36. Plaintiffs

assert that Respironics misreads the Kansas Products Liability Act, K.S.A. 60-3301,

which defines harm as “(1) damage to property; (2) personal physical injuries,

illness, and death; (3) mental anguish or emotional harm attendant to such personal

physical injuries, illness or death” and limits harm to exclude “direct or

consequential loss.”           Opp. Br. (ECF No. 1634) at 56.   Plaintiffs assert their

allegations of a subcellular injury meet this standard and that Fennesy does not read

a manifest physical injury requirement into the statute. Id.; 847 P.2d 1250, 1354

(Kan. 1993). Plaintiffs offer Burton v. R.J. Reynolds Tobacco Co., 884 F. Supp.

1515, 1522-23 (D. Kansas 1995) in support of its arguments. Opp. Br. (ECF No.

1634) at 57.

        Fennesy concerns the application of the statute of limitations. In the portion

Respironics relies on, the court quotes the language of the products liability act to

recognize that “The KPLA applies to product liability claims involving damage to

property, personal physical injuries, and attendant mental anguish or emotional

harm.” Id. at 1354. However, there is no analysis of the physical injury requirement.

In the case cited by Plaintiffs, Burton v. R.J. Reynolds Tobacco Co., the Court

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recognized that medical monitoring is appropriate where “the plaintiff has sustained

an injury.”        884 F. Supp. at 1523.    Under these circumstances, it will be

recommended that the Court deny Respironics’s motion to dismiss Plaintiffs’ claims

arising under the KPLA.

     iv.    New Jersey

        Respironics generally avers that in Sinclair v. Merck & Co., 948 A.2d 587

(N.J. 2008), the New Jersey Supreme Court held that the New Jersey Products

Liability Act (“NJPLA”), N.J. Stat. §§2A:58C-1-7, required Plaintiffs to “allege and

prove a manifest personal injury to recover medical monitoring expenses.” Supp. Br.

(ECF No. 1352) at 35. Plaintiffs assert Respironics misconstrues that text of the

NJPLA. Opp. Br. (ECF No. 1634) at 52-53. Because Plaintiffs have alleged

physical injury in the form of physiological changes and subcellular harm, it will be

recommended that the Court deny Respironics’s motion to dismiss Plaintiffs’ claims

arising under the NJPLA.

      v.    Ohio

        Under the Ohio Products Liability Act (“OPLA”), Ohio Rev. Code Ann. §§

2307.71-2307.80, harms are defined as “death, physical injury to person, serious

emotional distress, or physical damage to property other than the product in

question,” and does not require a “manifest physical injury” as Respironics asserts.

Further, Plaintiffs cite Elmer v. S.H. Bell Co., 127 F.Supp.3d 812, 825 (N.D. Ohio
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2015), for the proposition that “[a] plaintiff is not required to demonstrate physical

injuries in order to obtain medical monitoring relief.” Opp. Br. (ECF No. 1634) at

55.

        In Day v. NLO, the Southern District of Ohio recognized that prospective

medical monitoring is an appropriate form of relief where liability has been

established in cases addressing a disease with “a protracted latency period, which

may not manifest itself for many years.” 851 F. Supp. 869, 880 (S.D. Ohio 1994).

Under these circumstances, it will be recommended that the Court deny

Respironics’s motion to dismiss Plaintiffs’ claims arising under the Ohio Products

Liability Act.

      vi.   Tennessee

        Plaintiffs assert Respironics reads into the requirements of the Tennessee

Products Liability Act, Tenn. Code Ann. §§29-28-101 a limitation that does not

exist. Opp. Br. (ECF No. 1634) at 55-56. Plaintiffs assert the statute allows claims

asserting harm in the forms of “. . . personal injury, death or property damages” and

does not require “manifest personal injury” as Respironics claims. Id. Plaintiffs

assert the case cited by Respironics, City of Franklin v. W.L. Hailey & Co., 634

S.W.3d 16, 27 (Tenn. App. 2019), does not hold that a manifest physical injury

would be required. Id. Plaintiffs offer Laxton v. Orkin Exterminating Co., where the



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Tennessee Supreme Court allowed a claim for medical monitoring despite negative

test results, in support of its argument. 639 S.W.2d 431, 434 (Tenn. 1982). Id.

        Neither case provided by the parties is dispositive of this issue. Respironics’s

case, City of Franklin v. W.L. Hailey & Co., is of limited applicability because that

case addressed recovery for economic losses under the Tennessee Products Liability

Act, rather than the pleading requirements of the state statute. 634 S.W.3d at 27.

Although the Court of Appeals of Tennessee recognized that “without a claim for

personal injury or property damage, no claim may lie under the Products Liability

Act,” the court did not address whether claims of subcellular injury qualify as a

personal injury. Id. Similarly, Plaintiffs’ case, Laxton v. Orkin Exterminating Co.,

addresses medical monitoring in a common law negligence claim rather than a claim

arising under the Tennessee Products Liability Act. 639 S.W.2d at 434.

        Consistent with the determination that physical injury in the form of

physiological changes and subcellular harm suffices under other state product

liability acts, it will be recommended that the Court deny Respironics’s motion to

dismiss Plaintiffs’ claims arising under the Tennessee Products Liability Act.

    vii.    Washington

    Respironics asserts that medical monitoring is only available under the

Washington Products Liability Act if Plaintiffs demonstrate traditional elements of

liability, including present physical injury. Supp. Br. (ECF No. 1352) at 36-37.

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Respironics relies on Duncan v. Nw. Airlines, 203 F.R.D. 601, 609 (W.D. Wash.

2001). Id. at 37. Plaintiffs assert that under the Washington Products Liability Act,

“[h]arm includes any damages recognized by the courts of this state” and that

Plaintiffs’ allegations regarding subcellular injury or physiological damages satisfy

that standard. Duncan v. Nw. Airlines, 203 F.R.D. 601, 609 (W.D. Wash. 2001).

Opp. Br. (ECF No. 1634) at 58. Plaintiffs further aver that the cases cited by

Respironics do not address the level or type of injury required under the statute. Id.

at fn. 20 (citing Steele v. Organon, Inc., 716 P.2d 920, 922 (Wash. App. 1986);

Hofstee v. Dow, 36 P.3d 1073, 1076 (Wash. App. 2001)). Consistent with the

determination that physical injury in the form of physiological changes and

subcellular harm suffices under other state product liability acts, it will be

recommended that the Court deny Respironics’s motion to dismiss Plaintiffs’ claims

arising under the Washington Products Liability Act.




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VIII.    CONCLUSION
     For the foregoing reasons set forth in this Report and Recommendation, it is

 recommended that the Court grant in part and deny in part Respironics’s motion to

 dismiss Plaintiffs’ Second Amended Medical Monitoring Complaint. In accordance

 with Fed. R. Civ. P. 53(f)(2), objections to or requests for modification of this Report

 must be submitted within twenty-one days of today.




 Dated: September 28, 2023                             /s Thomas I. Vanaskie
                                                       Hon. Thomas I. Vanaskie (Ret.)
                                                       Special Master




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


                                         )
IN RE: PHILIPS RECALLED                  )
CPAP, BI-LEVEL PAP, AND                  )
MECHANICAL
VENTILATOR PRODUCTS                      )   Master Docket: Misc. No. 21-
LITIGATION                               )   1230
                                         )
                                         )   MDL No. 3014
This Document Relates to: All Actions    )
                                         )
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 RECOMMENDATION ON THE MOTION OF DEFENDANT PHILIPS RS
    NORTH AMERICA LLC TO DISMISS PLAINTIFFS’ AMENDED
   MASTER LONG FORM AND SHORT FORM COMPLAINTS FOR
            PERSONAL INJURIES AND DAMAGES


        For the foregoing reasons provided in the attached Report on Defendant

Philips RS North America LLC’s Motion to Dismiss the Consolidated Second

Amended Class Action Complaint for Medical Monitoring (ECF No. 1341), it is

recommended that the Court grant the following:

    1. Respironics’s motion to dismiss the medical monitoring claims asserted under

        the laws of Arizona, Arkansas, Colorado, Connecticut, Delaware, Georgia,

        Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Maine, Minnesota, Montana,

        Nebraska, New Hampshire, New Jersey, New Mexico, New York, North



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        Carolina, Ohio, Oklahoma, Oregon, Puerto Rico, Rhode Island, South

        Carolina, Texas, Virginia, and Washington (COUNT IV).

        In all other respects, it is recommended the remaining aspects of the Motion

be denied.




     September 28, 2023                            /s/ Thomas I. Vanaskie
     Date                                          Hon. Thomas I. Vanaskie (Ret.)
                                                   Special Master




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